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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

1. KRISTIN CUNNINGHAM,                       )
                                             )
             Plaintiff,                      )     Case No. CIV-20-1158-R
v.                                           )
                                             )
1. ARAMARK CAMPUS, LLC,                      )
                                             )
              Defendant.                     )

                                     COMPLAINT

      COMES NOW THE PLAINTIFF and, pursuant to Fed.R.Civ.P. 15(a)(B), hereby

amends her claims as follows:

                                        PARTIES

1.    The Plaintiff is Kristin Cunningham, an adult resident of Cleveland County,

      Oklahoma.

2.    The Defendant is Aramark Campus, LLC, a foreign company doing business in

      Oklahoma County, Oklahoma.

                                         VENUE

3.    Plaintiff’s claims are for disability discrimination and retaliation after she

      complained of disability discrimination, in violation of the Americans with

      Disabilities Act (ADA) and Oklahoma’s Anti-Discrimination Act (OADA);

      discrimination on the basis of Plaintiff’s sex in the form of and retaliation after

      Plaintiff complained of sex discrimination, in violation of Title VII and the OADA;

      interference with Plaintiff’s rights under the Family Medical Leave Act (FMLA)

      and retaliation after Plaintiff exercised and/or sought to exercise such rights.
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4.    Most of the conduct giving rise to this litigation occurred in Cleveland County,

      Oklahoma, which is a county within the United States District Court for the Western

      District of Oklahoma. Plaintiff filed her initial Petition in Cleveland County which

      the Defendant removed to this Court on November 17, 2020. This Court has federal

      question jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1331 and

      supplemental jurisdiction over the state law claims under 28 U.S.C. § 1367.

                              STATEMENT OF FACTS

5.    The Defendant employed at least fifty employees within seventy-five road miles of

      Plaintiff’s work location for at least twenty weeks of the current or proceeding year,

      such that it is an employer under the Family Medical Leave Act, the Americans with

      Disabilities Act and Title VII of the Civil Rights Act. There is no minimum

      employee requirement to be subject to the Oklahoma Anti-Discrimination Act.

6.    Plaintiff began employment with Defendant’s predecessor company around August

      12, 2017.

7.    Defendant took over the predecessor company, and became Plaintiff’s employer,

      around October 1, 2018.

8.    During all periods of employment the Plaintiff worked under the job title of Cashier.

9.    During all periods of employment the Plaintiff was qualified for her job and

      performed satisfactorily.

10.   At the time of Plaintiff’s employment with Defendant and its predecessor company

      the Plaintiff’s mother had suffered two stroke, at least one hemorrhagic, which



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      caused her to lose muscle control and feeling in part of her body and impairments

      related to sight, memory and speech.

11.   Plaintiff’s mother’s impairments, described in para. 10, above, substantially limited

      one or more major life activities (including major bodily functions) including

      circulatory function, brain function, vision, memory and speech such that Plaintiff’s

      mother had an actual disability as defined by the Americans with Disabilities Act.

12.   Because of the conditions of Plaintiff’s motion, described in pars. 10-11, above, she

      also had a record of a disability under the ADA.

13.   For reasons including those described in paras. 10-11, above, Plaintiff’s mother had

      a serious medical condition.

14.   Beginning around August 21, 2018 the Plaintiff requested and began taking FMLA

      leave to care for her mother because of her mother’s serious medical condition.

15.   At the time of her need to take FMLA leave the Plaintiff had worked for the

      Defendant’s predecessor company for at least one year and had worked at least

      1,250 hours in the prior twelve months.

16.   Around October 1, 2018 the Defendant, through Shannon Swaney (Regional HR

      Manager) told Plaintiff that the Defendant would not allow her to utilize FMLA

      leave to care for her mother because she (Plaintiff) had not worked for the Defendant

      for one year (although Plaintiff had worked for Defendant’s predecessor company

      for at least one year).




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17.   Ms. Swaney told Plaintiff that Defendant would allow her to take “personal leave”

      to care for her mother until November 1, 2018, but that Plaintiff was required to

      return to work by November 1, 2018.

18.   Defendant’s refusal to allow Plaintiff to use her protected FMLA leave constituted

      an interference with Plaintiff’s FMLA rights.

19.   Around the beginning of February 20, 2019 Plaintiff told her supervisor, Jennifer

      Wright (Sales Director) about her mother’s medical condition, that Plaintiff had

      previously taken FMLA leave to care for her mother and that Plaintiff still needed

      days off work to care for her mother because of her mother’s serious health

      condition.

20.   Around this time Plaintiff requested time off work to care for her mother, including

      to take her mother to a doctor’s appointment because of her serious health condition.

22.   Ms. Wright denied Plaintiff’s request.

23.   Until the time of her termination Plaintiff continued to ask off work to care for her

      mother, including to take her mother to doctor appointments for her serious health

      condition/disability.

24.   Ms. Wright continued to deny Plaintiff’s requests.

25.   Around March or April 2019 Plaintiff learned that Ms. Swaney, Ms. Wright and

      others had been spreading rumors that Plaintiff was a lesbian and in a lesbian

      relationship with a co-worker.

26.   Around April 20, 2019 Plaintiff made a complaint of sex discrimination to Amanda

      Wiles (HR Manager) and Dawnita Montgomery (Director of Operations).

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27.   During this period Plaintiff also complained that Ms. Wright was denying Plaintiff’s

      requests for FMLA leave to care for her mother.

28.   Defendant terminated Plaintiff’s employment around May 22, 2019.

29.   As a direct result of the Defendant’s conduct, the Plaintiff has suffered, and

      continues to suffer, wage loss (including back, present and front pay along with the

      value of benefits associated with such wages) and emotional distress/dignitary harm

      damages including worry, sadness, frustration and similar unpleasant emotions.

30.   At the least, motivating factors in the decision to terminate the Plaintiff included

      Plaintiff’s mother’s disability with the but-for causes of Plaintiff’s termination

      including Plaintiff’s requests for FMLA leave and complaints of gender and

      disability discrimination.

31.   Plaintiff has exhausted her administrative remedies by timey filing an EEOC charge

      of discrimination around September 26, 2019. The EEOC issued Plaintiff her right

      to sue letter around August 24, 2020 and Plaintiff received such letter thereafter.

      Plaintiff’s initial petition was timely filed within ninety (90) days of Plaintiff’s

      receipt of her right to sue letter.

                                            COUNT I

      Plaintiff incorporates the above and further alleges:

32.   Interfering with Plaintiff’s rights under the FMLA and retaliating against Plaintiff

      for requesting FMLA and/or complaining of FMLA violations are violations of the

      FMLA.



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33.   Under this Count the Plaintiff is entitled to her wage loss (including back, present

      and front pay along with the value of benefits associated with such wages).

34.   Plaintiff is also entitled to an award of liquidated damages.

35.   Under this Count the Plaintiff is entitled to an award of attorney fees and costs.

                                        COUNT II

      Plaintiff incorporates the above and further alleges:

36.   Discriminating against an employee because their family member has a disability,

      and retaliating against the employee for complaining of disability discrimination,

      violate the ADA and Oklahoma’s Anti-Discrimination Act (OADA).

37.   Under this Count the Plaintiff is entitled to her wage loss (including back, present

      and front pay along with the value of benefits associated with such wages).

38.   Plaintiff is entitled to emotional distress/dignitary harm damages under the ADA.

39.   Because the Defendant’s conduct was willful or, at the least, in reckless disregard

      of Plaintiff’s rights, Plaintiff is entitled to an award of punitive damages under the

      ADA.

40.   Plaintiff is entitled to an award of liquidated damages under the OADA.

41.   Plaintiff is entitled to an award of attorney fees and costs.

                                       COUNT III

      Plaintiff incorporates the above and further alleges:

42.   Retaliating against an employee for complaining of gender discrimination violates

      Title VII of the Civil Rights Act and the OADA.



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43.    Under this Count the Plaintiff is entitled to her wage loss (including back, present

       and front pay along with the value of benefits associated with such wages).

44.    Plaintiff is entitled to emotional distress/dignitary harm damages under Title VII.

45.    Because the Defendant’s conduct was willful or, at the least, in reckless disregard

       of Plaintiff’s rights, Plaintiff is entitled to an award of punitive damages under Title

       VII.

46.    Plaintiff is entitled to an award of liquidated damages under the OADA.

47.    Plaintiff is entitled to an award of attorney fees and costs.

                                         PRAYER

       WHEREFORE, Plaintiff requests this Court enter judgment in her favor and

against the Defendants, and grant her all compensatory damages suffered, together with all

damages, liquidated damages, attorneys’ fees, costs and interest, and such other legal and

equitable relief as this Court deems just and proper.

       RESPECTFULLY SUBMITTED THIS 8th DAY OF DECEMBER 2020.

                                           HAMMONS, HURST & ASSOCIATES

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                           CERTIFICATE OF SERVICE

        I hereby certify that on December 8, 2020, a copy of the foregoing document was
filed electronically through the Court’s CM/ECF system, which will send notification of
such filing to all counsel of record, including:

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